Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                           Exhibits Page 1 of 28




                           Supporting Documents
Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                           Exhibits Page 2 of 28
Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                           Exhibits Page 3 of 28
Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                           Exhibits Page 4 of 28
Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                           Exhibits Page 5 of 28
Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                           Exhibits Page 6 of 28
Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                           Exhibits Page 7 of 28
Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                           Exhibits Page 8 of 28
Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                           Exhibits Page 9 of 28
Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                          Exhibits Page 10 of 28
Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                          Exhibits Page 11 of 28
Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                          Exhibits Page 12 of 28
Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                          Exhibits Page 13 of 28
Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                          Exhibits Page 14 of 28
Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                          Exhibits Page 15 of 28
Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                          Exhibits Page 16 of 28
Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                          Exhibits Page 17 of 28
Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                          Exhibits Page 18 of 28
Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                          Exhibits Page 19 of 28
Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                          Exhibits Page 20 of 28
Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                          Exhibits Page 21 of 28
Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                          Exhibits Page 22 of 28
Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                          Exhibits Page 23 of 28
Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                          Exhibits Page 24 of 28
Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                          Exhibits Page 25 of 28
Case 22-13206-CMG   Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21   Desc
                          Exhibits Page 26 of 28
                             Case 22-13206-CMG        Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21                      Desc
                                                            Exhibits
                                                         Amended           Page 27
                                                                 Table of Equalized    of 282021
                                                                                    Valuations
                                                             (As Amended by Tax Court Appeals)


                                          1                  2                  3                       4                  5               6
                                   AGG. ASSESSED        AVE. RATIO                               ASSESSED VALUE     ASSESSED VALUE
                                                                       AGG. TRUE VALUE                                                 EQUALIZED
       COUNTY AND DISTRICT           VALUATION        ASSESSED TO                                  CLASS II R. R.      ALL PERS.
                                                                         REAL PROP. *                                                  VALUATION
                                    REAL PROP. *       TRUE VALUE                                   PROPERTY           PROPERTY
       MONMOUTH COUNTY
1301   ABERDEEN TWP                   2,366,694,690           91.52           2,585,986,331                     0                  0     2,585,986,331
1302   ALLENHURST BORO                  703,056,900           84.44             832,611,203                     0            250,291       832,861,494
1303   ALLENTOWN BORO                   193,424,900           93.44             207,004,388                     0                  0       207,004,388
1304   ASBURY PARK CITY               2,123,021,910           94.06           2,257,093,249                     0                  0     2,257,093,249
1305   ATLANTIC HIGHLANDS BORO          937,263,900           93.10           1,006,728,142                     0          1,831,551     1,008,559,693
1306   AVON BY THE SEA BORO             934,373,800           71.57           1,305,538,354                     0                  0     1,305,538,354
1307   BELMAR BORO                    1,734,811,200           84.46           2,054,003,315                     0                  0     2,054,003,315
1308   BRADLEY BEACH BORO             1,535,185,500           96.24           1,595,163,653                     0                  0     1,595,163,653
1309   BRIELLE BORO                   1,680,289,700           92.90           1,808,707,966                     0                  0     1,808,707,966
1310   COLTS NECK TWP                 3,076,228,200           93.19           3,301,028,222                     0          4,486,457     3,305,514,679
1311   DEAL BORO                      2,769,310,700           86.38           3,205,962,839                     0            858,830     3,206,821,669
1312   EATON TOWN BORO                2,363,546,300           87.61           2,697,804,246                     0          7,624,430     2,705,428,676
1313   ENGLISHTOWN BORO                 276,798,200          100.49             275,448,502                     0                  0       275,448,502
1314   FAIRHAVEN BORO                 1,882,904,200           88.83           2,119,671,507                     0            513,323     2,120,184,830
1315   FARMINGDALE BORO                 177,502,100           94.48             187,872,671                     0                  0       187,872,671
1316   FREEHOLD BORO                  1,137,898,000           92.78           1,226,447,510                     0                  0     1,226,447,510
1317   FREEHOLD TWP                   6,868,119,600           94.28           7,284,810,776                     0                  0     7,284,810,776
1318   HAZLET TWP                     2,698,162,800           91.19           2,958,836,276                     0          1,798,281     2,960,634,557
1319   HIGHLANDS BORO                   764,417,000           92.71             824,524,862                     0            449,141       824,974,003
1320   HOLMDEL TWP                    4,358,122,800           96.14           4,533,100,478                     0          7,423,814     4,540,524,292
1321   HOWELL TWP                     7,546,137,900           88.65           8,512,281,895                     0                  0     8,512,281,895
1322   INTERLAKEN BORO                  315,245,700           93.29             337,920,141                     0            105,746       338,025,887
1323   KEANSBURG BORO                   648,503,900           85.92             754,776,420                     0            528,074       755,304,494
1324   KEYPORT BORO                     816,940,800           92.73             880,988,677                     0          5,419,227       886,407,904
1325   LITTLE SILVER BORO             1,795,972,651           97.45           1,842,968,344                     0          1,271,215     1,844,239,559
1326   LOCH ARBOUR VILLAGE              243,377,600          119.34             203,936,316                     0             75,690       204,012,006
1327   LONG BRANCH CITY               5,407,753,980           87.88           6,153,566,204                     0                  0     6,153,566,204
1328   MANALAPAN TWP                  7,165,322,400           91.74           7,810,466,972                     0                  0     7,810,466,972
1329   MANASQUAN BORO                 2,024,018,500           74.87           2,703,377,187                     0                  0     2,703,377,187




                                                      *EXCLUSIVE OF CLASS II RAILROAD PROPERTY
                                              **REVISED TOTALS AS AMENDED BY TAX COURT OF NEW JERSEY
                                                            ***ADMINISTRATIVE CORRECTION
                             Case 22-13206-CMG         Doc 30-5 Filed 08/11/22 Entered 08/11/22 17:18:21                           Desc
                                                             Exhibits
                                                          Amended           Page 28
                                                                  Table of Equalized    of 282021
                                                                                     Valuations
                                                               (As Amended by Tax Court Appeals)


                                           1                  2                   3                       4                    5                 6
                                   AGG. ASSESSED         AVE. RATIO                                ASSESSED VALUE       ASSESSED VALUE
                                                                         AGG. TRUE VALUE                                                     EQUALIZED
       COUNTY AND DISTRICT           VALUATION         ASSESSED TO                                   CLASS II R. R.        ALL PERS.
                                                                           REAL PROP. *                                                      VALUATION
                                    REAL PROP. *        TRUE VALUE                                    PROPERTY             PROPERTY
1330   MARLBORO TWP                    7,281,886,820             84.63          8,604,380,031                       0                    0      8,604,380,031
1331   MATAWAN BORO                    1,190,592,800             90.34          1,317,902,147                       0                    0      1,317,902,147
1332   MIDDLETOWN TWP                 11,916,147,400             95.85         12,432,078,665                       0          15,061,773      12,447,140,438
1333   MILLSTONE TWP                   1,888,998,810             88.99          2,122,709,080                       0            6,124,379      2,128,833,459
1334   MONMOUTH BEACH BORO             1,629,890,000             89.05          1,830,308,815                       0                    0      1,830,308,815
1335   NEPTUNE TWP                     4,403,135,600             94.45          4,661,869,349                       0                    0      4,661,869,349
1336   NEPTUNE CITY BORO                 677,923,700             91.59            740,172,180                       0                    0        740,172,180
1337   OCEAN TWP                       5,700,304,457             88.67          6,428,673,122                       0            4,345,832      6,433,018,954
1338   OCEANPORT BORO                  1,403,133,500             92.12          1,523,158,380                       0              932,726      1,524,091,106
1339   RED BANK BORO                   2,373,623,200             92.82          2,557,232,493                       0            9,405,487      2,566,637,980
1340   ROOSEVELT BORO                     89,582,500             99.36             90,159,521                       0              119,609         90,279,130
1341   RUMSON BORO                     4,036,298,600             94.60          4,266,700,423                       0            1,239,257      4,267,939,680
1342   SEA BRIGHT BORO                   861,792,500             87.30            987,162,085                       0              564,189        987,726,274
1343   SEA GIRT BORO                   2,646,977,600             96.79          2,734,763,509                       0                    0      2,734,763,509
1344   SHREWSBURY BORO                 1,270,499,700             92.76          1,369,663,325                       0            1,260,410      1,370,923,735
1345   SHREWSBURY TWP                     68,588,400            103.72             66,128,423                       0              112,402         66,240,825
1346   LAKE COMO BORO                    499,638,100             97.56            512,134,174                       0                    0        512,134,174
1347   SPRING LAKE BORO                4,513,517,900             87.97          5,130,746,732                       0                    0      5,130,746,732
1348   SPRING LAKE HEIGHTS BORO        1,384,909,500             94.81          1,460,720,916                       0                    0      1,460,720,916
1349   TINTON FALLS BORO               3,667,224,100             93.00          3,943,251,720                       0            3,831,773      3,947,083,493
1350   UNION BEACH BORO                  702,064,500             92.55            758,578,606                       0              515,413        759,094,019
1351   UPPER FREEHOLD TWP              1,343,192,500             91.10          1,474,415,477                       0                    0      1,474,415,477
1352   WALL TWP                        6,059,053,900             83.90          7,221,756,734                       0                    0      7,221,756,734
1353   WEST LONG BRANCH BORO           1,558,045,400             91.15          1,709,320,241                       0            1,012,991      1,710,333,232

          TOTAL MONMOUTH COUNTY     131,711,427,318              90.58        145,412,612,794                      0            77,162,311    145,489,775,105




                                                       *EXCLUSIVE OF CLASS II RAILROAD PROPERTY
                                               **REVISED TOTALS AS AMENDED BY TAX COURT OF NEW JERSEY
                                                             ***ADMINISTRATIVE CORRECTION
